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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS


IEP TECHNOLOGIES, LLC,
             Plaintiff,                    Civil Action File No.:
                                           1:21-cv-10417-RWZ
           v.

KPM ANALYTICS, INCORPORATED
F/K/A STATERA ANALYTICS,
INCORPORATED AND KPM ANALYTICS
NORTH AMERICA CORPORATION F/K/A
PROCESS SENSORS CORPORATION,
              Defendants.



   DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
  TO COMPEL DEFENDANTS’ RESPONSES TO REQUESTS FOR ADMISSION
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Ex. A      Excerpts of Random House Webster’s Unabridged Dictionary

Ex. B      Rough Transcript of January 27, 2022 Deposition of John Shea1

Ex. C      Rough Transcript of January 26, 2022 Deposition of David Grandaw

Ex. D      Excerpts of Defendants’ Responses and Objections to Plaintiff’s Third Set of
           Interrogatories (Nos. 10-12)

Ex. E      Excerpts of Plaintiff’s Second Supplemental Objections and Responses to
           Defendants’ First Set of Interrogatories (NOS. 2-6 and 13)




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  On February 2, 2022 and pursuant to the Court’s Standing Order regarding the Filing of
Confidential Documents (Doc. 15-2), KPM’s counsel informed IEP’s counsel that KPM intended
to publicly file Exhibits B and C, which contain testimony that IEP had designated as Confidential
Information. IEP’s counsel did not respond. KPM’s counsel understands IEP’s silence and
declining to engage in the procedures set forth in the Standing Order as consent to the public filing
of these exhibits.

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1.     INTRODUCTION

       Plaintiff IEP Technologies, LLC’s (“IEP”) motion to compel improperly seeks to have the

Court re-write IEP’s inartful requests for admission (“RFAs”) in attempt to make Defendants KPM

Analytics, Incorporated and KPM Analytics North America Corporation (collectively, “KPM”)

answer requests in a manner different from how they actually read. First, IEP’s demand is clearly

improper. Additionally, KPM long ago suggested during a meet-and-confer back in December,

2021—a month before IEP filed this motion—that IEP re-draft and re-serve new RFAs that recite

IEP’s newly-stated interpretation, which KPM would then answer. Had IEP heeded KPM’s

suggestion and served such new RFAs, IEP would have had KPM’s answers long before the

present response to IEP’s motion, thereby rendering this entire motion completely unnecessary.

IEP’s wasteful, dilatory and calculated actions expose its preference of protracting this litigation

and increasing KPM’s expenses.

       IEP’s motion also seeks to compel on the basis that KPM’s denials are supposedly

untruthful or should be “qualified.” To be clear, RFAs that KPM specifically denied in accordance

with the Federal Rules of Civil Procedure are the subject of IEP’s motion to compel solely because

IEP does not like KPM’s answers. But not only does IEP fail to identify any evidence to actually

support its false accusations, IEP’s motion on these bases is completely illegitimate and contrary

to the Federal Rules, which explicitly permit KPM to answer with denials as KPM did. To the

extent IEP contends KPM’s denials are untruthful, IEP’s remedy is to prove the disputed matter at

trial and then, if successful, to seek expenses under Rule 37(c). But moving now is egregiously

premature and a waste of party and judicial resources, which should not be tolerated.

       For the reasons discussed below, IEP’s motion should be denied, and KPM should be

awarded expenses in having to respond to it.




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2.      FACTS

        Because IEP did not describe the nature of this case as required by Local Rule 37.1(b)(3),2

KPM provides the following brief overview. IEP filed suit against KPM alleging (1) infringement

of IEP’s federally registered trademark (“the Asserted Mark”), (2) federal unfair competition and

false designation of origin, (3) common law trademark infringement and unfair competition, and

(4) unfair and deceptive acts or practices under M.G.L. c. 93A, §§ 2, 11. Doc. 1. IEP also seeks

cancellation of IEP’s U.S. Trademark Registration No. 5,633,755. Id. IEP’s Asserted Mark and a

KPM mark accused of infringement are shown below:

               IEP’s Asserted Mark         KPM’s Registered Trademark Accused
                                                    of Infringement




Id. at ¶¶ 33-34.

        On November 1, 2021, IEP served KPM with RFAs 1-17. Doc. 23-2. KPM timely

responded on December 1, 2021. Doc. 23-3.

        On December 22, 2021, the parties’ counsel held a telephonic meet-and-confer to discuss

IEP’s RFAs and KPM’s responses. After it became apparent that the disputes for several RFAs
were based on IEP attempting to interpret its RFAs in a manner that differed from how they were

actually drafted, KPM’s counsel suggested that IEP serve new RFAs that reflected IEP’s

interpretation. See id. at 14:24-15:15 (“[I]f you’re asking if Defendants sell goods and/or services

in addition to those described in that registration, that’s a different question. And I think that if you

want that information, that would have to be pursued in a different RFA. ... [W]e can’t just agree



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  IEP also failed to provide all the information required by Local Rule 37.1(b)(2) concerning the
time, date, location, and duration of the parties’ meet-and-confer. IEP’s counsel, Robert Keeler,
and KPM’s counsel, N. Andrew Crain and Robert Gravois, conducted a telephonic meet-and-
confer on December 22, 2021, which began at or around 2:00 PM and lasted approximately 40
minutes. The parties did not reach agreement on any RFAs.

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on what this would mean because when it’s presented to the jury, they need to know exactly what

the RFA states ... .”).

        Had IEP served new RFAs promptly after the December 22, 2021 meet-and-confer as

suggested by KPM’s counsel, KPM’s responses would have been due before the deadline of the

present Response to IEP’s motion to compel. IEP’s motion to compel would have been

unnecessary. However, IEP instead inexplicably waited 30 days after the December 22, 2021 meet-

and-confer to file its present motion to compel on January 21, 2022. Doc. 23. Had IEP not so

delayed and instead served new RFAs, it would have had answers by now and there would be no

motion to compel.

        On January 26-27, 2022, KPM deposed David Grandaw, IEP’s Senior Vice President of

Sales, and John Shea, the Co-President of IEP. After their testimony further and expressly

confirmed that KPM’s responses to RFAs 7 and 9-11 were sufficient and correct, KPM asked

IEP’s counsel to withdraw the portions of the present motion to compel directed to those RFAs at

the conclusion of the depositions based on the witnesses’ testimony that confirmed KPM’s denials

to certain RFAs. See Ex. B at 145:6-10 (“In view of his testimony about trade shows, I don’t think

we should have to respond to this. I think it should be withdrawn.”). KPM’s counsel also warned

IEP’s counsel that KPM would seek their attorney’s fees if forced to respond to the motion to

compel on those RFAs. See id. at 145:9-10 (“If you don’t withdraw it that’s fine. We’ll seek fees.”),

147:9-12 (“[I]t should be withdrawn. ... If you don’t, I’ve told you what we’re going to do.”).

3.      A P P LI C A B L E L E G A L P R I N C I P LE S

        The party who is served with a request for admission may respond by answering the request

or objecting. FED. R. CIV. P. 36(a)(3). “If a matter is not admitted, the answer must specifically

deny it or state in detail why the answering party cannot truthfully admit or deny it.” FED. R. CIV.

P. 36(a)(4).

        The party who served a request for admission may move to determine the sufficiency of an

answer or objection. FED. R. CIV. P. 36(a)(6). If an answer is found to be insufficient, the Court




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“may order either that the matter is admitted or that an amended answer be served.” Id. If an

objection is found to be unjustified, the Court “must order that an answer be served.” Id.

        While a party may move under Rule 36(a)(6) to challenge the sufficiency of an answer, it

is axiomatic that a court may not determine the accuracy of an answer before trial. See Superior

Sales W., Inc. v. Gonzalez,335 F.R.D. 98, 102 (W.D. Tex. 2020) (“District courts across the

country, as well as preeminent treatises on federal civil procedure, agree that Rule 36 does not

authorize the court to make determinations on the accuracy of responses before trial.” (quotation

marks omitted)). Instead, when a requesting party believes that the answering party failed to

properly admit a request, its remedy is to prove the matter at trial and then seek expenses under

Rule 37(c)(2). See Cont’l Cas. Co. v. Brummel, 112 F.R.D. 77, 82 (D. Colo. 1986) “Rule 37(c) is

intended to provide posttrial relief in the form of requiring the party who improperly refused to

admit to pay the expenses of the other side in making the necessary proof at trial.” (emphasis in

original)).

4.      KPM’ S R E S P O N S E S   TO   RFA S 3-6   AND   13 A R E P R O P E R
        4.1.   IEP falsely asserts that KPM did not respond to RFAs 3-6 and 13.

        With respect to RFAs 3-6 and 13, IEP repeatedly asserts that KPM refuses to respond to

these RFAs. See, e.g., Doc. 23 at 2 (heading: “KPM Refuses to Respond to RFAs 3-6 and 13”), 2

(“KPM failed to state ... why it was unable to respond ...”) (emphasis added).
        IEP’s claim is false, and IEP is wrong. KPM responded to each RFA as provided by

Rule 36. A party may respond to a request for admission by “serv[ing] on the requesting party a

written answer or objection addressed to the matter and signed by the party or its attorney.” FED.

R. CIV. P. 36(a)(3). KPM served both objections and written answers subject to those objections

pursuant to Rule 36(a)(3) to each of RFAs 3-6 and 13. See Doc. 23-3 at 8-11, 14-15. Therefore,

IEP’s claim that KPM failed to respond to RFAs 3-6 and 13 is false, and IEP’s motion should be

denied for this reason alone.




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       4.2.     KPM’s answers to RFAs 3 and 4 are sufficient because they state in detail
                why KPM cannot truthfully admit or deny them.

       IEP’s RFAs 3 and 4 read as follows:
       REQUEST NO. 3: Admit that Defendants sell goods and/or services beyond those
       described in Reg. 5,633,755.

       REQUEST NO 4: Admit that Defendants sell goods and/or services under
       Defendants’ Marks that are beyond those described in Reg. 5,633,755.
Doc. 23-2 at 3 (emphasis added).

       As shown above, RFAs 3 and 4 both include the phrase “goods and/or services beyond

those described in Reg. 5,633,755.” Id. (emphasis added). In answering these RFAs, KPM

explained that KPM “can neither admit nor deny this Request because the phrase ‘goods and/or

services beyond those described in Reg. 5,633,755’ is undefined, ambiguous, and cannot be

understood.” Doc. 23-3 at 8-9. Specifically, as discussed during the parties’ meet-and-confer, the

phrase “beyond those described” is undefined, ambiguous, and renders the RFAs unintelligible

because “the word ‘beyond’ refers to directional or temporal proximity” and “just doesn’t make

sense” in the context of these RFAs. Doc. 23-6 at 31:5-6.

       Interestingly, IEP does not deny that the phrase “beyond those described” is undefined and

ambiguous. See Doc. 23 at 3-4. Instead, IEP argues that KPM could respond to these RFAs if the

meaning of “beyond” was “qualified” and given a new and “specific meaning.” Doc. 23 at 4. The

fatal flaw with IEP’s argument is that the new and “specific meaning” that IEP attempts to ascribe

to “beyond” is different than the ordinary and customary meaning of the word. See Ex. A at 201

(dictionary definition of “beyond”). IEP’s “specific meaning” is also not recited in the RFA itself.

Clearly, IEP’s attempt to have the Court effectively rewrite the RFAs in order to have KPM answer

them is itself easily improper. See Adm’rs of the Tulane Educ. Fund v. Cytogel Pharma, LLC, No.

16-13987, 2018 U.S. Dist. LEXIS 139687, at *10 (E.D. La. Aug. 17, 2018) (“These requests were

inartfully drafted, and [the responding party] will not be compelled to rewrite the requests for their

adversary.”).

       Plus, by arguing that these RFAs could be answered if the meaning of “beyond” was given



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a new and “specific meaning,” IEP implicitly acknowledges that KPM is correct in stating that it

cannot answer or deny these RFAs as written on the bases that these RFAs contain an undefined

and ambiguous phrase. See Booth Oil Site Admin. Grp. v. Safety-Kleen Corp., 194 F.R.D. 76, 79

(W.D.N.Y. 2000) (“Ambiguous and vague requests which cannot be fairly answered will not be

enforced.”). Thus, because KPM’s answers state in detail why KPM cannot truthfully admit or

deny these RFAs, KPM’s answers to the RFAs are sufficient. See FED. R. CIV. P. 36(a)(4).

       IEP also incorrectly states that “KPM’s counsel[] agree[d] that it could respond to RFAs

3-6 and 13 if they qualified their answer [sic] toward a specific meaning ... .” Doc. 23 at 4.

However, contrary to IEP’s assertion, KPM’s counsel explicitly stated that it could not answer

these RFAs by agreeing to re-define the RFAs because at trial the RFAs would be read into

evidence as inartfully drafted, which would create confusion for the jury and undue prejudice for

KPM. See Doc. 23-6 at 15:8-15 (“[W]e can’t just agree on what this would mean because when

it’s presented to the jury, they need to know exactly what the RFA states[.]”).

       That is why KPM suggested during the December 22, 2021 teleconference that IEP merely

re-draft and re-serve new RFAs with the more precise and clearer language that the parties

discussed, which KPM indicated it could likely answer with an admission or denial. See id. at

15:18-20, 16:5-7 (“I think probably the thing that makes sense is a new RFA with the information

that you’re asking. ... If you’re asking for different information, you need to [submit] a different

RFA.”). Had IEP taken KPM’s suggestion, it would have long since had KPM’s answers by now.

But IEP inexplicably chose instead to wait 30 days before even filing the present motion to compel.

IEP’s actions expose clear preference against moving this case forward as expeditiously and

inexpensively as possible in favor of protraction and unnecessary added expense, which is not only

another reason why this motion should be denied, but also why KPM’s request for sanctions in the

form of an award of fees in responding to this motion should be granted. See infra.

       4.3.    KPM’s answers to RFAs 5, 6, and 13 are sufficient because they state in
               detail why KPM cannot truthfully admit or deny them.

       IEP’s RFAs 5, 6, and 13 read as follows:


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       REQUEST NO. 5: Admit that in the next five years Defendants intend to expand
       the goods and/or services they sell beyond those described in Reg. 5,633,755.

       REQUEST NO. 6: Admit that in the next five years Defendants intend to expand
       the goods and/or services they sell under Defendants’ Marks beyond those
       described in Reg. 5,633,755.

       REQUEST NO. 13: Admit that in the next five years Defendants intend to expand
       the customers and/or potential customers to whom they market goods and/or
       services.
Doc. 23-2 at 4 (emphasis added). As shown above, RFAs 5 and 6 recite the phrase “beyond those

described in Reg. 5,633,755.” As such, IEP’s motion should be denied as to RFAs 5 and 6 for the

same reasons discussed above in Section 4.2.
       Additionally, with respect to RFAs 5, 6, and 13, KPM’s answers also state in detail that

KPM can neither admit nor deny these RFAs because the phrases “intend to expand the goods

and/or services” and “intend to expand the customers and/or potential customers” (hereinafter,

collectively “the Intend to Expand Phrases”) render these RFAs unclear, ambiguous, and unable

to be understood. See Doc. 23-3 at 10, 11, 13. Notably, in its motion, IEP summarily concludes

without any explanation that “these phrases are readily understandable.” Doc. 23 at 4.

       But contrary to IEP’s conclusory assertion, the Intend to Expand Phrases cannot be

understood in the context of these particular RFAs. For example, RFA 5 recites “Admit that in the

next five years Defendants intend to expand the goods and/or services ... .” IEP provides no context

for how KPM’s goods or services might possibly be expanded, whether by size, quantity, scope,

sales volume, features, etc. As written, this RFA and the others with the Intend to Expand Phrases

make no sense, and IEP leaves KPM to guess what IEP actually means.

       Thus, RFAs 5, 6, and 13 are all rendered unintelligible because of the Intend to Expand

Phrases, and IEP does not show otherwise or propose how they should be interpreted. See Doc. 23

at 4. KPM made this clear to IEP in both their answers to the RFAs and during the parties’

December 22, 2021 teleconference, but IEP did nothing to cure this clear deficiency in response,

such as serving new RFAs that would have been answered by now. Therefore, IEP’s motion should

be denied for this additional reason.


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5.     KPM’ S R E S P O N S E S   TO   RFA S 7-9 A R E P R O P E R
       5.1.    KPM’s denials of RFAs 7-9 are sufficient.

       IEP’s RFAs 7-9 read as follows:
       REQUEST NO. 7: Admit that Defendants market goods and/or services in the same
       channels of trade as Plaintiff.

       REQUEST NO. 8: Admit that in the next five years Defendants intend to expand
       the channels of trade they market goods and/or services.

       REQUEST NO. 9: Admit that Defendants market goods and/or services under
       Defendants’ Marks in the same channels of trade as Plaintiff.

Doc. 23-2 at 3-4. KPM denied RFAs 7 and 9 and stated in detail why KPM could not admit or

deny RFA 8.3 Doc. 23-3 at 11, 12.

       IEP asserts that KPM’s denials are improper because “KPM did not fairly qualify [their]

response with [their] ‘subjective’ interpretation of ‘channels of trade’ and as such did not comply

with Fed. R. Civ. P. 36(a)(4).” Doc. 23 at 4. However, the Federal Rules of Civil Procedure do not

require KPM to “qualify” its denials, and IEP fails to identify any authority mandating such a

requirement for a specific denial. Indeed, Rule 36(a)(4) states that “[a] denial must fairly respond

to the substance of the matter,” and that is exactly what KPM’s denials of RFAs 7 and 9 do.

“Where, as here, issues in dispute are requested to be admitted, a denial is a perfectly reasonable

response.” United Coal Cos. V. Powell Construction Co., 839 F.2d 958, 967 (3d Cir. 1988); see

also Helget v. City of Hays, 300 F.R.D. 496, 499 (D. Kan. 2014) (“a denial is a sufficient answer,

and where a request contains interdependent, compound issues, a party may deny the entire

statement if it is premised upon a fact which is denied” (citation and quotation marks omitted))



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  IEP falsely asserts in its briefing that KPM denies RFA 8. Doc. 23 at 4. Contrary to IEP’s
assertion, KPM responded to RFA 8 by explaining in detail why KPM could not truthfully admit
or deny it. See Doc. 23-3 at 12 (“Defendants can neither admit nor deny this Request because the
meaning of the phrase ‘intend to expand the channels of trade they market goods and/or services’
is unclear, ambiguous, and cannot be understood.”). Because IEP does not dispute that KPM’s
response properly states in detail why KPM cannot admit or deny the RFA as permitted by Rule
36(a)(4), IEP’s motion should be denied as to RFA 8 for this additional reason. Doc. 23 at 4.


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S. Gensler & L. Mulligan, FEDERAL RULES OF CIVIL PROCEDURE, RULES AND COMMENTARY at

1141 (2021) (“A party does not need to support or explain the basis for its denials. If a party intends

to deny a request to admit, it is sufficient to simply reply ‘denied.’”). Therefore, IEP’s motion

should be denied.

       5.2.    Testimony from IEP’s Co-President and Vice President of Sales confirms the
               accuracy of KPM’s denials of RFAs 7 and 9.

       IEP also asserts that KPM’s responses to RFAs 7 and 9 are deficient “at least because KPM

is denying a matter than can be proven truthful.” Doc. 23 at 4. IEP’s argument is misplaced, as the

Federal Rules of Civil Procedure do not provide a mechanism for determining the accuracy of a

denial before trial. See Superior Sales W., 335 F.R.D. at 102 (“District courts across the country,

as well as preeminent treatises on federal civil procedure, agree that Rule 36 does not authorize

the court to make determinations on the accuracy of responses before trial.”).

       Notwithstanding IEP’s flaw that dooms this motion, KPM’s denials are verifiably accurate.

IEP argues—without any citation to support its assertion—that “discovery has shown that KPM

and IEP operate in the same channels of trade,” including “at the same tradeshows.” Doc. 23 at 5

(emphasis added). But contrary to IEP’s unsupported assertion, discovery has shown the exact

opposite, that is, that KPM and IEP do not operate in the same channels of trade. As merely one
example, IEP’s Co-President, John Shea, and Vice President of Sales, David Grandaw, both
testified that IEP has not attended any LabelExpo or SNAXPO trade shows, which are trade shows

that KPM has attended. See Ex. B at 99:3-6 (“[A]re you aware of IEP ever attending Label Expo[?]

A. Not that I recall. Are you aware of IEP ever attending SNAXPO? A. Not that I recall.”); Ex. C

at 115:11-24 (“[Y]ou’re not aware of anybody from IEP attending Label Expo on behalf of IEP;

correct? A. That is correct. ... Q. Ever heard of SNAXPO? A. I have not. Q. I’m assuming you

have not attended SNAXPO or ... of anybody who has attended SNAXPO on ... IEP’s behalf? A.

That is correct.”); Ex. D at 10 (“Defendants attended a LabelExo conference ... . Defendants

attended PackExpo conferences ... .”). Thus, because IEP points to trade shows as a channel of

trade, and because even IEP’s employees admit that IEP does not attend the same trade shows as


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KPM, KPM’s denial of these RFAs is entirely accurate (notwithstanding the additional fact that

IEP’s motion is egregiously misguided, as discussed above). Thus, IEP’s motion should be denied

for this additional reason.

       5.3.    IEP’s motion improperly seeks admissions to requests that are not stated in
               RFAs 7-9.

       As its requested relief, IEP’s motion “requests that the Court order KPM to supplement

their responses to these RFAs [7-9] to admit the portions of ‘channels of trade’ which are similar.”

Doc. 23 at 5 (emphasis added). However, IEP’s request is incredibly improper because RFAs 7-9

do not request admissions regarding “similar” channels of trade but instead focus on channels of

trade that are the same. Instead, RFAs 7 and 9 read as follows:

       REQUEST NO. 7: Admit that Defendants market goods and/or services in the same
       channels of trade as Plaintiff.

       REQUEST NO. 9: Admit that Defendants market goods and/or services under
       Defendants’ Marks in the same channels of trade as Plaintiff.
Doc. 23-2 at 3, 4 (emphasis added). Moreover, RFA 8 does not mention “the same” or “similar”

channels of trade, as shown below:

       REQUEST NO. 8: Admit that in the next five years Defendants intend to expand
       the channels of trade they market goods and/or services.

Doc. 23-2 at 3, 4 (emphasis added).
       Thus, IEP’s motion seeks to have KPM admit something that is completely different from

what IEP’s RFAs actually recite. Since the Federal Rules do not provide for such relief, IEP’s

motion should be denied for this additional reason. See FED. R. CIV. P. 36(a)(6).

6.     KPM’ S R E S P O N S E S   TO   RFA S 10-12   AND   14-17 A R E P R O P E R

       IEP’s RFAs 10-12 and 14-17 read as follows:
       REQUEST NO. 10: Admit that Defendants have marketed goods and/or services at
       the same trade shows attended by Plaintiff.

       REQUEST NO. 11: Admit that Defendants have marketed goods and/or services
       under Defendants’ Marks at the same trade shows attended by Plaintiff.




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       REQUEST NO. 12: Admit that Defendants market goods and/or services to the
       same customers and/or potential customers as Plaintiff.

       REQUEST NO. 14: Admit that Defendants market goods and/or services under
       Defendants’ Marks to the same customers and/or potential customers as Plaintiff.

       REQUEST NO. 15: Admit that Defendants market Defendants Goods to the same
       customers and/or potential customers as Plaintiff markets Plaintiff’s Goods.

       REQUEST NO. 16: Admit that Defendants Goods can be used on the same
       production lines as Plaintiff’s Goods.

       REQUEST NO. 17: Admit that there is overlap in functionality between
       Defendants Goods and Plaintiff’s Goods.

Doc. 23-2 at 4 (emphasis added).

       IEP argues that KPM’s denials of these RFAs—which are proper answers under Rule 36

(and IEP does not contend otherwise)—are “demonstrably false” and that the Court should deem

these RFAs admitted. Doc. 23 at 6.

       First, IEP’s arguments are completely misplaced because, even if IEP had proven that the

denials are false (which IEP certainly has not even attempted to do), a party cannot move under

Rule 36 to have a matter deemed admitted on the basis of a denial being inaccurate. For example,

in Superior Sales W., the requesting party argued, like IEP argues here, that certain RFAs “should

be deemed admitted because they are ‘demonstrably false’ and thus insufficient under Rule 36.”

335 F.R.D. at 102. Despite the requesting party having submitted “voluminous” evidence

demonstrating that the responding party’s denials were false, the court in Superior Sales W. denied

the motion because “Rule 36 does not authorize the court to make determinations on the accuracy

of responses before trial.” Id. (quotation marks omitted).

       Second, IEP’s own Co-President, John Shea, confirmed in deposition that IEP does not

track what trade shows it attends and that he is unable to identify the trade shows that IEP has

attended. See Ex. B at 51:2152:1 (“IEP Technologies does not track post fact. ... It is not—that

information is not retained.”), 46:2-47:1 (Mr. Shea testifying that he is unable to identify the trade

shows IEP has attended). So, if IEP cannot itself identify what trade shows its actually has



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attended, then KPM is in no position to make any verifiable comparison to any degree of certainty.

And in further combination with the fact that IEP’s John Shea admitted that IEP has not attended

trade shows that KPM has attended, KPM’s denial of RFAs 10 and 11 above are completely and

verifiably accurate.

       Therefore, KPM’s denials of RFAs 10-12 and 14-17 are sufficient. IEP’s motion is

completely baseless for these reasons and, thus, should be denied.

7.     KPM’ S R E S P O N S E   TO   RFA 1 I S P R O P E R

       IEP’s RFA 1 reads as follows:

       REQUEST NO. 1: Admit that Plaintiff’s Marks act as an indicator of source for
       Plaintiff’s Goods.

Doc. 23-2 at 3 (emphasis added).
       KPM answered this RFA by explaining, pursuant to Rule 36(a)(4), why KPM cannot

truthfully admit or deny it. Specifically, KPM stated that it could not admit or deny this RFA

because KPM does not have knowledge of all of “Plaintiff’s Goods” at least because IEP refused

to fully respond to KPM’s interrogatory that asked IEP to identify and describe all of “Plaintiff’s

Goods:”

       After reasonable inquiry, the information that Defendants know or can readily
       obtain is insufficient to enable them to admit or deny this Request. The admission
       or denial of this Request requires Defendants to have information on “Plaintiff’s
       Goods,” which Plaintiff defined as meaning “Plaintiff’s products and/or services
       sold or offered for sale in connection with Plaintiff’s Mark.” The information that
       would be required to admit or deny this Request is not in Defendant’s records, nor
       is it within the knowledge of Defendants’ employees, agents, or others of whom
       Defendants have made reasonable inquiries. Additionally, Plaintiff refused to
       adequately respond to Defendants’ Interrogatory No. 3, which requested Plaintiff
       to “[i]dentify and fully describe each and every good or service ever sold or offered
       for sale in connection or relation to Plaintiff’s Mark.”

Doc. 23-3 at 7.

       IEP’s motion asserts—in an argument that spans only a single sentence—that the Court

should order KPM to supplement their response to this RFA. Doc. 23 at 6. But IEP’s conclusory

argument does not explain why it contends KPM’s response is insufficient or why it contends



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KPM should now be able to admit or deny this RFA. See id.

       At the meet-and-confer, KPM’s counsel explained that it would examine IEP’s

supplemental response to KPM’s Interrogatory No. 3 to determine whether IEP provided any

additional information that would enable KPM to admit or deny this RFA. See Doc. 23-6 at 7:7-

13 (“I will go back and take another look at that and see if there’s something that would require

supplementation, and if so, we’ll certainly supplement. I’m not aware that there’s anything at this

time, but we’ll go back and take another look at it.”). Though IEP has since supplemented its

response to KPM’s Interrogatory No. 3 twice, IEP has still failed to identify and fully describe

each and every good or service that constitutes “Plaintiff’s Goods.” See Ex. E at 7 (stating that IEP

has identified documents under Rule 33(d) that show only “exemplary products,” not each and

every product that constitutes “Plaintiff’s Goods.”). And if IEP is unable or unwilling to fully

identify and describe all of the goods and services with which IEP uses its mark, then KPM cannot

rightfully be expected to admit or deny this RFA that charges KPM with having that full scope of

knowledge about IEP’s goods and services that IEP refuses to disclose. Consequently, KPM

remains unable to truthfully admit or deny this RFA for the same reasons stated in KPM’s answer.

       Therefore, KPM’s response has been and remains sufficient and correct, and IEP fails to

show otherwise. IEP’s motion should be denied for this additional reason.

8.     KPM S H O U L D B E A W A R D E D A T T O R N E Y ’ S F E E S I N C U R R E D   IN   HAVING   TO
       RESPOND TO THIS BASELESS MOTION

       If a motion to compel is denied, Rule 37(a)(5) states that a court “must” require the movant

to pay the responding party its reasonable expenses, including attorney’s fees, unless the motion

was substantially justified or other circumstances make an award of expenses unjust. FED. R. CIV.
P. 37(a)(5)(B).

       IEP should be required to pay KPM’s expenses under Rule 37(a)(5) because its motion was

not substantially justified and there are no circumstances making an award of expenses unjust. As

discussed above, IEP’s motion seeks to have RFAs 3-6 and 13 interpreted in a manner that is

completely different than how they are written, served, and answered. Not only is IEP’s requested


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relief impermissible, see supra §§ 4.2-4.3, but IEP also declined KPM’s suggestion to re-draft and

re-serve new RFAs that reflected IEP’s desired interpretation, which would have resulted in IEP

receiving KPM’s answers well before the present response was due and would have obviated this

motion in its entirety. See Doc. 23-6 at 15:18-20, 16:5-7 (“I think probably the thing that makes

sense is a new RFA with the information that you’re asking. ... If you’re asking for different

information, you need to [submit] a different RFA.”). That is, had IEP taken KPM’s suggestion, it

would have had answers to new and revised RFAs by now and would not have burdened the parties

and the Court with this improper motion to compel that would have been obviated. IEP’s actions

and inexplicable refusal to easily resolve these issues without the Court’s involvement exposes

IEP’s motives to prejudice KPM through litigation tactics and gamesmanship, which is also why

IEP should pay KPM’s expenses. See Saalfrank v. Town of Alton, No. 08-cv-46-JL, 2010 U.S.

Dist. LEXIS 19909, at *7 n.10 (D.N.H. Mar. 5, 2010) (“Rule 37(a)(5) exists to discourage counsel

from creating the expense of getting the court involved in resolving discovery disputes that, with

a good faith effort, they could have resolved on their own.”).

       The remainder of IEP’s motion is equally unjustified. For example, had IEP conducted

even a modicum of research before filing this motion, it would have realized that disagreeing with

a responding party’s denial of an RFA is not a valid basis for a motion to compel. See supra §§ 5-

6. Incredibly, IEP’s motion does not cite even a single case in support of any of its arguments,

which indicates that IEP either failed to conduct a reasonable inquiry before filing its ill-founded

motion to compel or that IEP disregarded any such research. Neither should be tolerated.

       Moreover, as established above, IEP’s accusation that KPM answered RFAs untruthfully

is blatantly false. See supra § 5.2. KPM’s counsel repeatedly warned IEP’s counsel after the

depositions of IEP’s employees that KPM would seek its attorney’s fees if IEP did not withdraw

the portions of its motion to compel directed towards these issues. See Ex. B at 144:22- 145:2 (“In

view of Mr. Shea’s testimony earlier about trade shows, defendants ask [] that plaintiffs withdraw

their motion to compel with respect to I think it’s sections 3-B and three C. If you don’t, we’re

going to ask for fees based on the testimony today if we have to respond to it[.]”), 145:6-10 (“In


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view of his testimony about trade shows, I don’t think we should have to respond to this. I think it

should be withdrawn. .... If you don’t withdraw it that’s fine. We’ll seek fees.”). IEP’s false

accusations and its refusal to withdraw these portions of its motion further confirm that awarding

KPM their expenses under Rule 37(a)(5) is warranted and proper.

       Therefore, IEP’s motion should be denied in its entirety, and IEP should be ordered to

reimburse KPM for the expenses in responding to this baseless motion.

       Respectfully submitted this 4th day of February, 2022.


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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 IEP TECHNOLOGIES, LLC,
              Plaintiff,                                    Civil Action File No.:
                                                            1:21-cv-10417-RWZ
                v.

 KPM ANALYTICS, INCORPORATED
 F/K/A STATERA ANALYTICS,
 INCORPORATED AND KPM ANALYTICS
 NORTH AMERICA CORPORATION F/K/A
 PROCESS SENSORS CORPORATION,
               Defendants.



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2022, the foregoing was filed using the Court’s ECF

system, which will automatically send electronic notice of such filing to all attorneys of record.

                                              /s/ Robert D. Gravois
                                              Robert D. Gravois

                                              Attorney for Defendants




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